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U.S. COURTS

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STEPHEN W. WIRENYON

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Plaintiff/Petitioner
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
Ae] Lever, (erle..
(full name) Case No.
Plaintiff/Petitioner, (to be assigned by Court)

¥.
. 4 PRISONER APPLICATION TO
tl (20K Se Ll d PROCEED IN FORMA PAUPERIS

 

 

 

Defendant/Respondent.

Cf you need additional space, use a blank page for a
continuation page)

 

 

By completing this Application, I am requesting in forma pauperis status rather than
paying the filing fee at the time of filing, I understand that, if my request is granted in a civil
rights case, my fee will not be waived, but I will be responsible to pay the entire fee from my
prison trust account in increments, when and as I am able to do so. If my request is granted in a
habeas corpus case, the fee will be waived.

1. Are you employed? Yes © No. DB . Ifemployed, please state your job title and
the total amount of wages you make per month.

 

3 per month
Job Title
2, Within the past six (6) months, have you received any money from any of the following
sources?
a. Business, or other form of self-employment? Yes ©. No cf
b. Rent payments, interest or dividends? Yes@) No OG

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c, Pensions, annuities, or life insurance payments? Yes. no,
d. Welfare, social security, or disability benefits? YesC) No
e Gifts or inheritances? Yes On 0
f. Friends or family? YesQY No wa
g. Any other sources? Yes© No
(identify source)
3, If the answer to any of the above is “yes,” describe each source of money and state the

amount received figm each dpring the past six (six) months.
200. oh/ lets Fionn 2 LLOF

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4, Do you own or have any interest in any real estate, stocks, bonds, notes, automobiles or
other valuable property?

Yes © No O the answer is “yes,” describe the property and state its
approximate value,

 

 

5. List the persons who are dependent upon your support, state your relationship to those
persons, and indicate how much you contribute or are obligated to contribute, toward
their support.

Due Each Month

Person _, Relationship c
Jeb Lduad (allen Se) §_ 662.00
5

 

6. I have attached a Prison Trust Account Statement to this Form. Yes) ~— ‘No o~

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this Lins of Septenper , SAA,

LTA
Plaintiff/Petitioner

Notes: You do not need to send a copy of this document to Defendant/Respondent. This
Application must be accompanied by a Prison Trust Account Statement. This Application takes
the place of an in forma pauperis motion and affidavit. Notarization is not necessary because the
Application is signed under penalty of perjury.

PRISONER APPLICATION TO PROCEED IN FORMA PAUPERIS - 2 (Rev. 10/24/2011)

 
